        Case 19-14239-amc                       Doc 49         Filed 08/21/24 Entered 08/21/24 06:45:40                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  JOE RIVERA


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-14239-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                            10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  QUICKEN LOANS INC                                                         5-1

 Last 4 digits of any number you use to identify the debtor's account                         2   8   4   8

 Property Address:                              4316 DUGGAN STREET
                                                PHILADELPHIA, PA 19124




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        1,025.59

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        1,025.59

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $             -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $             -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $             -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $             -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $        1,025.59



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     JOE RIVERA                                                        Case number (if known) 19-14239-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     08/20/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     JOE RIVERA                                               Case number (if known) 19-14239-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                  Creditor Type               Date       Check # Posting Description                 Amount
5        QUICKEN LOANS INC     Pre-Petition Arrears        02/21/2020 17197550Disbursement To Creditor/Principal 1,025.59
                                                                                   Total for Part 2 - B:         1,025.59




Form 4100N                                 Notice of Final Cure Payment                                            page 3
